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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

In re:                                          §                 CHAPTER 11
                                                §
TFRC ENTERPRISES LLC                            §              CASE NO. 23-60006
     Debtor                                     §

 FRANK SHAW’S JOINDER IN RECEIVER’S EMERGENCY MOTION TO DISMISS
                        [relates to Docs. 1 and 5]

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE
THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Creditor Frank Shaw adopts and joins the State Court-Appointed Receiver’s Emergency

Motion to Dismiss Unauthorized Petition [Doc. 5] filed by Seth Kretzer (“Receiver”), as state-

court appointed receiver over Richard J. Whitmore, II. Mr. Shaw incorporates by reference as if

fully set forth herein the entirety of the Receiver’s emergency motion.
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                                             PRAYER

       For cause, Mr. Shaw respectfully asks the Court to consider the Receiver’s motion to

dismiss on an emergency basis and, after a hearing, to order dismissal of the Chapter 11 petition

filed by Richard J. Whitmore, II in the name of TFRC Enterprises LLC on January 27, 2023, as an

authorized and bad faith filing.

       Mr. Shaw further requests all other relief to which he is entitled.



                                                     Respectfully submitted,

                                                     POUPORE LAW FIRM PLLC

                                                     /s/ Jourdain Poupore
                                                     Jourdain Poupore
                                                     Texas Bar No. 24094901
                                                     Federal Bar No. 2717697
                                                     3233 W. Dallas St., Suite 313
                                                     Houston, Texas 77019
                                                     Tel: 713-922-1655
                                                     service@poupore.law

                                                     Attorney for Frank Shaw




                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served on
January 30, 2023, via ECF to all other parties requesting notice.



                                                     /s/ Jourdain Poupore
                                                     Jourdain Poupore




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